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UNITED STATES OF AMERICA
Plaintiff,

Criminal No. O__(;{_- 'Z.OFO”Ml

V .

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(30-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

AS indicated. by the signatures below, the United. States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this Case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the June, 2005,
criminal rotation calendar, but is now RESET for report at w

a.m. on Fridav, June 24, 2005, with trial to take place on the

 

July, 2005 rotation calendar with the time excluded under the

Speedy Trial Act through July 15, 2005. Agreed in open court at

   

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Th !or 32('9) FRG’P °“

with Ru\e 55 and

 

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SO ORDERED this 27th day Of May, 2005.

w mw

ON PHIPPS MCCALLA

J
Z/f/Wi <TJTED sTATEs DIsTRIcT JUDGE

Assistant United States Attorney

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Counsel for Defendant(s}

   

UNITED sTATE DRISTIC COURT - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CR-20507 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

